
9 N.Y.2d 745 (1961)
In the Matter of John Camuglia, Appellant,
v.
Thomas F. Rohan et al., Constituting the New York State Liquor Authority, Respondents.
Court of Appeals of the State of New York.
Argued January 18, 1961.
Decided March 2, 1961.
Jack Goodman and Michael Nardone for appellant.
John J. Hyland and Hyman Amsel for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD and FOSTER. Judges FROESSEL, VAN VOORHIS and BURKE dissent and vote to reverse upon the ground that the determination was purely subjective to the Authority and is not supported by substantial evidence.
Order affirmed, with costs; no opinion.
